 
    

        
		
        

        
        
        
        
        

        
		
        	
		STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ROBINSON



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ROBINSON

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ROBINSON2020 OK 100Case Number: SCBD-6982Decided: 12/07/2020As Corrected: December 9, 2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 100, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,v.Eugene Robinson, Respondent.

ORDER OF IMMEDIATE INTERIM SUSPENSION

¶1 Respondent Eugene Robinson was charged with nine counts of failure to account for and to pay over withholding and FICA (Social Security Taxes) as to Firm Employees in violation of 26 U.S.C. § 7202.1 Robinson pled guilty to counts one through nine. He was sentenced to probation for a term of five years as to counts one through nine to run concurrently, and to home detention for eight months except for employment and approved activities. Robinson was ordered to pay restitution in the amount of $159,121.05.
¶2 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the 1) Information, 2) Petition to Enter Plea of Guilty and Order Entering Plea, and 3) Judgment in a Criminal Case, filed in United States of America v. Eugene Robinson, Case No. 19-CR-266 before the United States for the Northern District of Oklahoma.
¶3 Rule 7.3 of the RGDP provides that "upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may direct the lawyer to file a statement, to show cause, if any the lawyer has, why an order of immediate interim suspension from the practice of law should not be entered. Upon good cause shown, the Court may decline to enter an order of immediate interim suspension when it appears to be in the interest of justice to do so, due regard being had to maintaining the integrity of and confidence in the profession. If good cause is not shown, the Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."
¶4 On October 1, 2020, this Court directed Robinson to show cause why he should not be immediately interim suspended from the practice of law. Robinson responded that he has been in good standing with the Oklahoma Bar Association for 37 years and never had a bar complaint. He states that he has tried to a verdict over 300 jury trials and enjoys a good reputation with the bench and bar. During a period of financial difficulty, Robinson states he thought he would be able to work out a payment plan with the IRS, but instead he received a Notice of Criminal Investigation. Robinson states that these are his first criminal charges, he took full responsibility, and he needs to maintain his bar license in order to pay the restitution of $159,121.05. He requests dismissal of the Rule 7 proceeding for want of evidence that he is unfit to practice law.
¶5 The Oklahoma Bar Association submits that nine felony convictions for crimes that involve the misappropriation of money being held in trust for taxes facially demonstrates unfitness to practice law, and brings discredit to the legal profession in violation of the Rule 1.3, RGDP. The OBA states that Respondent, as an employer, was required to withhold federal income and FICA taxes from employees' wages and to pay them to the IRS on their behalf. These funds are called trust fund taxes because the employer, Respondent's law office, is essentially holding in trust money taken from employees' wages until it is remitted to the IRS. The OBA states that with the guilty pleas, it is not disputed that Respondent was ultimately the person responsible to collect and remit the withheld taxes, and that Respondent misappropriated tax trust funds that did not belong to him, which were being held in trust for the United States to apply to the tax obligations of employees of his law office. The OBA submits that the Respondent's convictions involve dishonesty and a breach of trust and facially demonstrate unfitness to practice law, which warrants entry of an immediate interim suspension.
¶6 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules."
¶7 In the Petition to Enter Plea of Guilty and Order Entering Plea, Robinson represented to the Court that he had the responsibility of ensuring that taxes withheld from the Firm's employees' paychecks were paid over quarterly to the government. Robinson states that for each quarterly tax period beginning in October 2013 through December 2015 (nine quarters), he withheld taxes but did not pay over those taxes to the IRS. He admits he knew he had an obligation to pay over the taxes but did not do so.
¶8 After review of the responses and certified copies of the papers and orders submitted, this Court finds that Robinson's conduct involves dishonesty and breach of trust, which facially demonstrates unfitness to practice law and warrants entry of an immediate interim suspension. This Court orders that Eugene Robinson is immediately suspended from the practice of law.
¶9 Pursuant to Rule 7.4 of the RGDP, Eugene Robinson has until December 23, 2020, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until January 7, 2021, to respond.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on December 7, 2020.

/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.

FOOTNOTES

1 §7202. Willful failure to collect or pay over tax
Any person required under this title to collect, account for, and pay over any tax imposed by this title who willfully fails to collect or truthfully account for and pay over such tax shall, in addition to other penalties provided by law, be guilty of a felony and, upon conviction thereof, shall be fined not more than $10,000, or imprisoned not more than 5 years, or both, together with the costs of prosecution.




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
